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4                             UNITED STATES DISTRICT COURT

5                            EASTERN DISTRICT OF CALIFORNIA

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7    UNITED STATES OF AMERICA,                 No. 2:14-cr-00083-GEB
8                       Plaintiff,
9            v.                                VOIR DIRE, INITIAL JURY
                                               INSTRUCTIONS, JURY INSTRUCTIONS
10   RUSLAN KIRILYUK,                          DURING TRIAL IF REQUESTED BY A
                                               PARTY, PROPOSED CLOSING JURY
11                      Defendant.             INSTRUCTIONS, AND A PROPOSED
                                               VERDICT FORM
12

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14                Attached are the court’s voir dire questions, initial

15   jury instructions, instructions that may be given in the course

16   of trial if a party makes the request, proposed closing jury

17   instructions, and a proposed verdict form.

18                The bracketed optional language shall be clarified, and

19   any proposed changes to these documents shall be filed as soon as

20   feasible.

21                Defendant’s following proposed voir dire question “to

22   be asked by the court,” submitted under the leave provided in the

23   Trial    Confirmation     Order   filed    January   7,   2019,   is   discussed

24   because it appears to ask the judge to make an expert witness

25   designation in front of the jury that is inconsistent with Ninth

26   Circuit Model Criminal Jury Instruction 4.14:

27                “8.     It is anticipated expert witnesses will be called

28   by the government.          Is there anything that would cause you to
                                          1
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1    believe the prosecution expert simply based on the fact they are

2    called as a witness by the prosecution?             If yes, please explain.”

3    (emphasis added)

4                The    judge   assumes   that    questions      15   and    16   in    the

5    judge’s attached voir dire seek the essence of the information

6    Defendant   seeks    in    his   question   8.    The   judge     disagrees       with

7    Defendant’s position that the judge should designate witnesses as

8    experts     when     communicating     with        jurors.       This    requested

9    designation is inconsistent with the following comment to Ninth

10   Circuit Model Criminal Jury Instruction 4.14 (concerning opinion

11   evidence and expert witnesses): “This instruction avoids labeling

12   the witness as an expert.         If the court refrains from designating

13   the witness as an expert, this will ensure that trial courts do

14   not inadvertently put their stamp of authority on a witness’s

15   opinion and will protect against the jury’s being overwhelmed by

16   the   so-called     experts."    (internal       quotations      and    alterations

17   omitted).     The    Sixth   Circuit   expressed        a   similar     concern     in

18   United States v. Johnson, 488 F.3d 690, 697–98 (6th Cir. 2007),

19   as follows:

20               We pause here to comment on the procedure
                 used by the trial judge in declaring before
21               the jury that [a witness] was to be
                 considered an expert . . . .   When a court
22               certifies that a witness is an expert, it
                 lends a note of approval to the witness that
23               inordinately enhances the witness's stature
                 and detracts from the court's neutrality and
24               detachment.     “Except  in  ruling   on  an
                 objection, the court should not, in the
25               presence of the jury, declare that a witness
                 is qualified as an expert or to render an
26               expert opinion, and counsel should not ask
                 the court to do so.”
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     (citations omitted)
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                                            2
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1              Trial will commence at 9:00 a.m. on February 19, 2019.

2              Dated:   February 14, 2019

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                                    VOIR DIRE
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                           UNITED STATES DISTRICT COURT
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                          EASTERN DISTRICT OF CALIFORNIA
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9    UNITED STATES OF AMERICA,                 No. 2:14-cr-00083-GEB

10                   Plaintiff,

11        v.                                   VOIR DIRE

12   RUSLAN KIRILYUK,

13                   Defendant.

14

15              Thank     you   for    your    presence    and   your    anticipated

16   cooperation in the questioning process we are about to begin.

17   You are performing an important function in our constitutional

18   governmental structure.

19              The court personnel who will assist me in this trial

20   are on the platform below me.              The Courtroom Deputy is Shani

21   Furstenau.      Next to her is the Certified Court Reporter.                Ms.

22   Furstenau please administer the oath to the prospective jurors.

23              We are about to begin what is known as voir dire.               Voir

24   dire consists of questions designed to provide the court and the

25   parties   with    information     about    each   potential   juror.       After

26   questioning is complete, the parties will exercise what is known

27   as peremptory challenges.

28              1.      Counsel,      the   Jury   Administrator        has   already
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      Case 2:14-cr-00083-DJC Document 320 Filed 02/14/19 Page 6 of 89


1    randomly selected potential jurors and their names are on the

2    sheet you have been given in the order of the random selection.

3    Each potential juror has been given a large laminated card on

4    which   the    number      is     placed      showing       the    order      in   which    the

5    potential juror was randomly selected.

6                  2.    I will ask potential jurors questions as a group.

7    If a potential juror has a response, he or she shall raise the

8    laminated card or number.               If no potential juror has a response,

9    I will simply state “no response” and then ask the next question.

10   If you know it is your turn to respond to a question, you may

11   respond before I call your seat number by stating your seat

12   number, then your response.                That could expedite the process.

13                 3.    If a potential juror concludes a question unduly

14   pries into a private matter, the potential juror may request to

15   respond    out     of   the      earshot      of    other     potential         jurors.     I’m

16   authorized to try to protect legitimate privacy interests, but

17   also am obligated to avoid secreting an aspect of the proceeding

18   absent a showing that secrecy is justified under a standard.

19                 4.    The presentation of evidence and closing argument

20   portions      of    the     trial       are        expected       to     be     completed   in
21   approximately seven court days, after which it is anticipated

22   that jury will commence deliberation.                     Trial will be conducted on

23   Tuesdays, Wednesdays, and Thursdays, from 9:00 a.m. to about 4:30

24   p.m.    However, once you commence jury deliberations, you will be

25   expected      to   deliberate       every          day   except        weekends    until    you

26   complete your deliberations.                  Does the schedule pose a problem
27   for any prospective juror?

28                 5.    I     will    now   have counsel           may       make     any   desired
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1    introductions so that it can be determined whether any potential

2    juror knows or has had contact with a person named, and the

3    United States shall name anticipated witnesses it may call.

4                          a.      Do you know and or have you had any contact

5                                  with a person just named?

6                   6.     This    is     a    criminal       case    brought   by    the   United

7    States.    The defendant, Ruslan Kirilyuk, is charged by the second

8    superseding indictment with Wire Fraud, Mail Fraud, Aggravated

9    Identity Theft, and Failure to Appear.                           The second superseding

10   indictment alleges that between approximately October 2011 and

11   March 2014, Mr. Kirilyuk worked with others in a credit card

12   billing    scheme       that       involved      creating        approximately      71   fake

13   companies and then charging stolen and misappropriated credit

14   card numbers for goods and services that the fake companies did

15   not provide. After billing the cards, Mr. Kirilyuk and his co-

16   schemers       allegedly      transferred          the    money    from    the   fraudulent

17   sales     to    bank        accounts       Mr.     Kirilyuk       and     his    co-schemers

18   controlled, and then withdrew the money through ATM transactions

19   and point-of-sale purchases.                  It is further alleged that in the

20   course of carrying out this scheme, Mr. Kirilyuk and his co-
21   schemers used interstate wire transmissions to complete the ATM

22   transactions and the U.S. mails to receive mail in furtherance of

23   the fraud.           Mr. Kirilyuk also allegedly possessed and used the

24   means of identification of another real person for purposes of

25   carrying       out    the    fraud       scheme.     It     is    also alleged      that   on

26   February 7, 2017, Mr. Kirilyuk failed to appear for trial in this
27   matter after he was advised of the penalties for failure to

28   appear and previously confirming the trial date.
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1                The defendant denies these allegations.                    The second

2    superseding indictment simply describes the charges the United

3    States   brings   against       the   defendant.     The   second   superseding

4    indictment is not evidence and does not prove anything.                        Mr.

5    Kirilyuk is presumed innocent of the charges unless and until the

6    United States proves the defendant guilty beyond a reasonable

7    doubt.

8                7.    Do the allegations cause any potential juror to

9    prefer not being a juror on this case?

10               8.    Is    there    anything   about    the   allegations      which

11   causes you to feel that you might not be a fair juror in this

12   case?

13               9.    Please raise your number if you have heard or read

14   anything about this case before I told you about the allegations.

15               10.   Is there any reason why you would not be able to

16   be a juror and/or to give your full attention to this case?

17               11.   The    government      alleges    in   this   case    that   the

18   identities of students in the San Juan Unified School District

19   were stolen and used to open fraudulent businesses.                      Is there

20   anything about those allegations that could interfere with your
21   ability to be a fair and impartial juror in this case?

22               12.   Have you, any member of your family, or any close

23   friend attended school or worked in the San Juan Unified School

24   District?

25               13.   Have you, any member of your family, or any close

26   friend been investigated and/or arrested for a crime, or been the
27   defendant in a criminal case?

28               14.   Do you have any religious and/or moral or other
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1    objection to sitting in judgment of a person’s conduct in a court

2    of law?

3               15.   Would     you    tend    to    believe        the   testimony    of   a

4    witness just because of that witness’s present or former status

5    as a law enforcement officer, a criminal investigator, and/or a

6    federal employee?

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                       16. Would you tend to disbelieve the testimony of
8
                           a     witness      just        because    of    the     witness’s
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                           present or former status as a law enforcement
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                           officer and/or a criminal investigator, and/or
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                           a federal employee?
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                17.   Have you ever served as a juror in the past, in
13
     any capacity?
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                      a.       State   whether       it    was   a   civil    or   criminal
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                               case, and whether the jury reached a verdict,
16
                               but do not state the actual verdict reached.
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                18.   Have you, any member of your family, or any close
18
     friend ever been a victim of identity theft?
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                19.   You are required to apply the law I will give you
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     even if you believe a different law should apply.                       If you cannot
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     agree to what I just said, please raise your number.
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                20.   Do you have any difficulty with the rule of law
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     that a person charged with a crime is presumed innocent and need
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     not present any evidence, and the government at all times bears
25
     the burden of proving guilt beyond a reasonable doubt?
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                21.   Do you have any problem with the rule of law that
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     a defendant need not testify on his own behalf and that if a
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     Case 2:14-cr-00083-DJC Document 320 Filed 02/14/19 Page 10 of 89


1    defendant    chooses        not   to    testify,       that    factor     may    not      be

2    considered by you in your deliberations?

3                22.   Is there anything we have not discussed that you

4    believe could have a bearing on your ability to be a fair and

5    impartial   juror      in    this      case,    or    that    you   suspect      a    trial

6    participant would desire to know?

7                23.   The Courtroom Deputy Clerk will give the juror in

8    seat number one a sheet on which there is information we seek.

9    Please pass the sheet to a potential juror near you after you

10   respond.

11               Please state:

12                     a.        your juror seat number;

13                     b.        your name and educational background;

14                     c.        the   educational         background     of    any       person

15                               residing with you;

16                     d.        your present and former occupations; and

17                     e.        the   present       and   former    occupations          of   any

18                               person residing with you.

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                           INITIAL JURY INSTRUCTIONS
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1                            INITIAL INSTRUCTION NO. 1

2                Jurors, I will now give you a few jury instructions.

3    At    the   end   of   the   trial    I       will    give   you     more    detailed

4    instructions.     When you deliberate, it will be your duty to weigh

5    and to evaluate all the evidence received in the case and, in

6    that process, to decide the facts.                   To the facts as you find

7    them, you will apply the law as I give it to you, whether you

8    agree with the law or not.           You must decide the case solely on

9    the evidence and the law before you.                 Perform these duties fairly

10   and   impartially.      Do   not     allow      personal     likes    or    dislikes,

11   sympathy, prejudice, fear, or public opinion to influence you.

12   You should also not be influenced by any person’s race, color, or

13   religion, national ancestry.

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1                          INITIAL INSTRUCTION NO. 2

2              The evidence you are to consider in deciding what the

3    facts are consists of:

4                 •   the sworn testimony of any witness;

5                 •   the exhibits which are received in evidence; and

6                 •   any facts to which the parties agree.

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1                            INITIAL INSTRUCTION NO. 3

2                There are rules of evidence that control what can be

3    received in evidence.       When a lawyer asks a question, or offers

4    an exhibit in evidence and a lawyer on the other side thinks that

5    it is not permitted by the rules of evidence, that lawyer may

6    object.      If   I   overrule   the   objection,   the   question    may   be

7    answered or the exhibit received.            If I sustain the objection,

8    the   question    cannot   be    answered,   or   the   exhibit    cannot   be

9    received.     Whenever I sustain an objection to a question, you

10   must ignore the question and must not guess what the answer would

11   have been.

12               Sometimes I may order that evidence be stricken from

13   the record and that you disregard or ignore the evidence.               That

14   means that when you are deciding the case, you must not consider

15   the evidence that I told you to disregard.

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1                           INITIAL INSTRUCTION NO. 4

2                In deciding the facts in this case, you may have to

3    decide which testimony to believe and which testimony not to

4    believe.    You may believe everything a witness says, or part of

5    it, or none of it.

6                In considering the testimony of any witness, you may

7    consider:

8                  •   the witness’s opportunity and ability to see or

9                      hear or know the things testified to;

10                 •   the witness’s memory;

11                 •   the witness’s manner while testifying;

12                 •   the witness’s interest in the outcome of the case,

13                     if any;

14                 •   the witness’s bias or prejudice, if any;

15                 •   whether other evidence contradicted the witness’s

16                     testimony;

17                 •   the reasonableness of the witness’s testimony in

18                     light of all the evidence; and

19                 •   any other factors that bear on believability.

20               The   weight    of   the   evidence   as   to   a   fact   does   not
21   necessarily depend on the number of witnesses who testify about

22   it.   What is important is how believable the witnesses are, and

23   how much weight you think their testimony deserves.

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1                               INITIAL INSTRUCTION NO. 5

2                Evidence       may    be     direct     or    circumstantial.           Direct

3    evidence    is    direct    proof       of   a   fact,     such   as    testimony    by    a

4    witness about what that witness personally saw or heard or did.

5    Circumstantial      evidence       is    indirect        evidence,     that   is,   it    is

6    proof of one or more facts from which one can find another fact.

7                You    are     to    consider        both    direct   and    circumstantial

8    evidence.    Either can be used to prove any fact.                       The law makes

9    no distinction between the weight to be given to either direct or

10   circumstantial evidence.            It is for you to decide how much weight

11   to give to any evidence.

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1                            INITIAL INSTRUCTION NO. 6

2              The following things are not evidence, and you must not

3    consider them as evidence in deciding the facts of this case:

4                 •   statements and arguments of the attorneys;

5                 •   questions and objections of the attorneys;

6                 •   testimony that I instruct you to disregard; and

7                 •   anything you may see or hear when the court is not

8                     in session even if what you see or hear is done or

9                     said   by   one   of   the   parties   or   by   one   of   the

10                    witnesses.

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1                                  INITIAL INSTRUCTION NO. 7

2                  I   will   now    say        a    few    words      about   your       conduct   as

3    jurors.

4                  First, keep an open mind throughout the trial, and do

5    not decide what the verdict should be until you and your fellow

6    jurors have completed your deliberations at the end of the case.

7                  Second, because you must decide this case based only on

8    the evidence received in the case and on my instructions as to

9    the   law    that   applies,         you       must    not   be    exposed      to    any   other

10   information about the case or to the issues it involves during

11   the course of your jury duty.                   Thus, until the end of the case or

12   unless I tell you otherwise:

13                 Do not communicate with anyone in any way and do not

14   let anyone else communicate with you in any way about the merits

15   of the case or anything to do with it.                         This includes discussing

16   the case in person, in writing, by phone or electronic means,

17   via email, via text messaging, or by any other medium, including

18   any form of social media.                      This applies to communicating with

19   your fellow jurors until I give you the case for deliberation,

20   and it applies to communicating with everyone else including
21   your family members, your employer, the media or press, and the

22   people      involved     in    the    trial,          although     you    may    notify     your

23   family and your employer that you have been seated as a juror in

24   the case, and how long you expect the trial to last.                                   But, if

25   you are asked or approached in any way about your jury service

26   or anything about this case, you must respond that you have been
27   ordered not to discuss the matter and to report the contact to

28   the court.        Because you will receive all the evidence and legal
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1    instruction you properly may consider to return a verdict: do

2    not read, watch, or listen to any news or media accounts or

3    commentary about the case or anything to do with it, although I

4    have no information that there will be news reports about this

5    case; do not do any research, such as consulting dictionaries,

6    searching the Internet or using other reference materials; and

7    do not make any investigation or in any other way try to learn

8    about the case on your own.             Do not visit or view any place

9    discussed in this case, and do not use Internet programs or

10   other devices to search for or view any place discussed during

11   the trial.      Also, do not do any research about this case, the

12   law, or the people involved—including the parties, the witnesses

13   or the lawyers—until you have been excused as jurors.                 If you

14   happen to read or hear anything touching on this case in the

15   media, turn away and report it to me as soon as possible.

16               These rules protect each party’s right to have this

17   case decided only on evidence that has been presented here in

18   court.     Witnesses here in court take an oath to tell the truth,

19   and the accuracy of their testimony is tested through the trial

20   process.     If you do any research or investigation outside the
21   courtroom,      or    gain      any     information     through      improper

22   communications,      then     your     verdict   may    be   influenced      by

23   inaccurate, incomplete or misleading information that has not

24   been   tested   by   the    trial    process.    Each   of   the   parties   is

25   entitled to a fair trial by an impartial jury, and if you decide

26   the case based on information not presented in court, you will
27   have denied the parties a fair trial.            Remember, you have taken

28   an oath to follow the rules, and it is very important that you
                                   8
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1    follow these rules.

2              A juror who violates these restrictions jeopardizes the

3    fairness of these proceedings, and a mistrial could result that

4    would require the entire trial process to start over.              If any

5    juror is exposed to any outside information, please notify the

6    court immediately.

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1                            INITIAL INSTRUCTION NO. 8

2              From   time    to   time   during   the   trial,   it   may   become

3    necessary for me to take up legal matters with the attorneys

4    privately, either by having a conference at the bench when the

5    jury is present in the courtroom, or by calling a recess.               Please

6    understand that while you are waiting, we are working.                     The

7    purpose of these conferences is not to keep relevant information

8    from you, but to decide how certain evidence is to be treated

9    under the rules of evidence and to avoid confusion and error.

10             Of course, we will do what we can to keep the number

11   and length of these conferences to a minimum.            I may not always

12   grant an attorney’s request for a conference.           Do not consider my

13   granting or denying a request for a conference as any indication

14   of my opinion of the case or what your verdict should be.

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1                           INITIAL INSTRUCTION NO. 9

2              At the end of the trial you will have to make your

3    decision based on what you recall of the evidence.           You will not

4    have a written transcript of the trial.         I urge you to pay close

5    attention to the testimony as it is given.

6              If at any time you cannot hear or see the testimony,

7    evidence, questions or arguments, let me know so that I can

8    correct the problem.

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1                                INITIAL INSTRUCTION NO. 10

2                  If you wish, you may take notes to help you remember

3    the evidence.        If you do take notes, please keep them to yourself

4    until you and your fellow jurors go to the jury room to decide

5    the   case.      Do    not    let   note-taking   distract     you   from     being

6    attentive.      When you leave court for recesses, your notes should

7    be left on the seat you now occupy.           No one will read your notes.

8                  Whether or not you take notes, you should rely on your

9    own   memory    of    the    evidence.    Notes   are   only   to    assist   your

10   memory.    You should not be overly influenced by your notes or

11   those of your fellow jurors.

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1                          INITIAL INSTRUCTION NO. 11

2               The next phase of the trial will now begin.             First,

3    each side may make an opening statement.        An opening statement is

4    not evidence.      It is simply an outline to help you understand

5    what that party expects the evidence will show.           A party is not

6    required to make an opening statement.

7               The government will then present evidence and counsel

8    for the defendant may cross-examine.            Then, if the defendant

9    chooses to offer evidence, counsel for the government may cross-

10   examine.

11              After the evidence has been presented, the attorneys

12   will make closing arguments and I will instruct you on the law

13   that applies to the case.

14              After that, you will go to the jury room to deliberate

15   on your verdict.

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5
       JURY INSTRUCTIONS THAT MAY BE GIVEN DURING TRIAL, IF A PARTY
6                            MAKES THE REQUEST

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1                          MID-TRIAL INSTRUCTION NO. 1

2                A language other than English will be used for some

3    evidence during this trial.         When a witness testifies in another

4    language,   the   witness   will    do   so   through    an    official   court

5    interpreter.      When   recorded   evidence    is   presented     in   another

6    language, there will be a translation of the recording.

7                The evidence you are to consider and on which you must

8    base your decision is only the English-language [interpretation]

9    [translation] provided through the official court [interpreters]

10   [translators].     Although some of you may know the non-English

11   language used, you must disregard any meaning of the non-English

12   words   that      differs    from     the     official        [interpretation]

13   [translation].

14               [You must not make any assumptions about a witness or a

15   party based solely upon the use of an interpreter to assist that

16   witness or party.]

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1                         MID-TRIAL INSTRUCTION NO. 2

2              The   parties    have   agreed    what   [name   of      witness]’s

3    testimony would be if called as a witness.           You should consider

4    that testimony in the same way as if it had been given here in

5    court.

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1                         MID-TRIAL INSTRUCTION NO. 3

2              The parties have agreed to certain facts that have been

3    stated to you.   Those facts are now conclusively established.

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1                         MID-TRIAL INSTRUCTION NO. 4

2              I   have   decided   to   accept   as   proved   the     fact   that

3    [insert fact noticed], even though no evidence was presented on

4    this point, because this fact is of such common knowledge.                 You

5    may accept this fact as true, but you are not required to do so.

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1                            MID-TRIAL INSTRUCTION NO. 5

2              You are about to [hear] [watch] [have heard] [watched]

3    a recording that has been received in evidence.                    [Please listen

4    to it very carefully.]          Each of you [has been] [was] given a

5    transcript of the recording to help you identify speakers and as

6    a guide to help you listen to the recording.                     However, bear in

7    mind that the recording is the evidence, not the transcript.                    If

8    you   [hear]   [heard]      something       different     from    what   [appears]

9    [appeared]     in     the   transcript,      what   you    [hear]     [heard]   is

10   controlling.        [[After] [Now that] the recording has been played,

11   the transcript will be taken from you.]

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1                            MID-TRIAL INSTRUCTION NO. 6

2              You    [are     about    to    [hear]   [watch]]   [have   [heard]

3    [watched]] a recording in the Russian language. Each of you [has

4    been] [was] given a transcript of the recording that has been

5    admitted into evidence.           The transcript is an English-language

6    translation of the recording.           Although some of you may know the

7    Russian language, it is important that all jurors consider the

8    same evidence.    The transcript is the evidence, not the foreign

9    language spoken in the recording.           Therefore, you must accept the

10   English translation contained in the transcript and disregard any

11   different meaning of the non-English words.

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1                                MID-TRIAL INSTRUCTION NO. 7

2                  You    [are     about       to     [hear]       [watch]]           [have    [heard]

3    [watched]] a recording in the Russian language.                                A transcript of

4    the recording has been admitted into evidence.                              The transcript is

5    an [official] English-language translation of the recording.                                   The

6    accuracy of the transcript is disputed in this case.                                  Whether a

7    transcript is an accurate translation, in whole or in part, is

8    for    you    to     decide.         In     considering            whether        a   transcript

9    accurately     describes       the    words          spoken    in    a     conversation,       you

10   should consider the testimony presented to you regarding how, and

11   by    whom,    the    transcript          was       made.          You     may    consider     the

12   knowledge,      training,      and        experience          of     the       translator,     the

13   audibility     of     the    recording,         as     well    as        the     nature   of   the

14   conversation and the reasonableness of the translation in light

15   of all the evidence in the case.                      Although some of you may know

16   the Russian language, it is important that all jurors consider

17   the same evidence.           Therefore, you must not rely in any way on

18   any   knowledge       you    may     have       of    the     language           spoken   on   the

19   recording; your consideration of the transcript must be based on

20   the evidence in the case.
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1                             MID-TRIAL INSTRUCTION NO. 8

2                You [are about to hear] [have heard] testimony of a

3    witness    who   [will    be   testifying]      [testified]      in   the    Russian

4    language.        Witnesses     who   do   not   speak   English       or   are   more

5    proficient in another language testify through an official court

6    interpreter.      Although some of you may know the Russian language,

7    it   is   important   that     all   jurors     consider   the   same      evidence.

8    Therefore, you must accept the interpreter’s translation of the

9    witness’s testimony.         You must disregard any different meaning.

10               You must not make any assumptions about a witness or

11   party based solely on the fact that an interpreter was used.

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1                               MID-TRIAL INSTRUCTION NO. 9

2                  You [are about to hear testimony] [are about to see

3    evidence] that the defendant committed other acts not charged

4    here.       This evidence of other acts [will be] admitted only for

5    [a] limited purpose[s].              You may consider this evidence only for

6    the purpose of deciding whether the defendant:                         [had the state of

7    mind, knowledge, or intent necessary to commit the crime charged

8    in    the   second       superseding       indictment      indictment;]       or   [had     a

9    motive or the opportunity to commit the acts charged in the

10   indictment;] or [was preparing or planning to commit the acts

11   charged in the second superseding indictment;] or [acted with a

12   method of operation as evidenced by a unique pattern;] or [did

13   not   commit       the   acts   for       which   the    defendant      is   on   trial    by

14   accident or mistake;] or [is the person who committed the crime

15   charged in the second superseding indictment].

16                 Do not consider this evidence for any other purpose.

17                 Of    course,     it    is    for   you    to     determine    whether      you

18   believe this evidence and, if you do believe it, whether you

19   accept it for the purpose offered.                      You may give it such weight

20   as you feel it deserves, but only for the limited purpose that I
21   described to you.

22                 The    defendant       is    not    on    trial    for   committing    these

23   other acts.         You may not consider the evidence of these other

24   acts as a substitute for proof that the defendant committed the

25   crimes charged.          You may not consider this evidence as proof that

26   the defendant has a bad character or any propensity to commit
27   crimes.      Specifically, you may not use this evidence to conclude

28   that because the defendant may have committed the other acts, he
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1    must   also   have   committed   the     acts   charged   in   the   second

2    superseding indictment.

3              Remember that the defendant is on trial here only for

4    wire fraud, mail fraud, aggravated identity theft, and failure to

5    appear, not for these other acts.        Do not return a guilty verdict

6    unless the government proves the crimes charged in the second

7    superseding indictment beyond a reasonable doubt.

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1                         MID-TRIAL INSTRUCTION NO. 10

2               You are about to hear evidence that [describe evidence

3    to be received for limited purpose].          I instruct you that this

4    evidence is admitted only for the limited purpose of [describe

5    purpose]   and,   therefore,   you   must   consider   it   only   for   that

6    limited purpose and not for any other purpose.

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1                            MID-TRIAL INSTRUCTION NO. 11

2                 You have heard evidence that a photo of the defendant

3    was shown to [name of witness].            You may consider this evidence

4    only   for   [specify    admissible   purpose]   and   not   for   any   other

5    purpose.     Because the government obtains photos of many people

6    from many different sources and for many different purposes, you

7    must not infer the defendant committed this or any other crime

8    from the fact that the government obtained and displayed the

9    defendant’s photo.

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1                         MID-TRIAL INSTRUCTION NO. 12

2              At   the   beginning     of    the   trial,   I   described   the

3    charge[s] against the defendant.         For reasons that do not concern

4    you, [specify count[s] or charge[s]] [is] [are] no longer before

5    you.   Do not speculate about why the charge[s] [is] [are] no

6    longer part of this trial.

7              The defendant is on trial only for the charge[s] of

8    [remaining count[s]].      You may consider the evidence presented

9    only as it relates to the remaining count[s].

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5                     PROPOSED CLOSING JURY INSTRUCTIONS

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1                                     INSTRUCTION NO. 1

2                 Members of the jury, now that you have heard all the

3    evidence, it is my duty to instruct you on the law that applies

4    to   this    case.      Each     of    you    now     possesses        a    copy    of    these

5    instructions that you may take with you into the jury room to

6    consult if you desire.

7                 It    is   your    duty    to    weigh        and   to    evaluate      all    the

8    evidence received in the case and, in that process, to decide the

9    facts.      It is also your duty to apply the law as I give it to you

10   to the facts as you find them, whether you agree with the law or

11   not.

12                You must decide the case solely on the evidence and the

13   law.        Do    not   allow    personal          likes    or     dislikes,        sympathy,

14   prejudice, fear, or public opinion to influence you.                               You should

15   also not be influenced by any person’s race, color, religion, or

16   national     ancestry.          You    will       recall    that      you   took     an    oath

17   promising to do so at the beginning of the case.

18                You must follow all these instructions and not single

19   out some and ignore others; they are all important.                                Please do

20   not read into these instructions or into anything I may have said
21   or done any suggestion as to what verdict you should return—that

22   is a matter entirely up to you.

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1                               INSTRUCTION NO. 2

2              The second superseding indictment is not evidence.          The

3    defendant has pleaded not guilty to the charges.            The defendant

4    is presumed to be innocent unless and until the government proves

5    the defendant guilty beyond a reasonable doubt.          In addition, the

6    defendant does not have to testify or present any evidence.           The

7    defendant does not have to prove innocence; the government has

8    the burden of proving every element of the             charges beyond a

9    reasonable doubt.

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1                               INSTRUCTION NO. 3

2              A defendant in a criminal case has a constitutional

3    right not to testify.        In arriving at your verdict, the law

4    prohibits you from considering in any manner that the defendant

5    did not testify.

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1                               INSTRUCTION NO. 4

2              The defendant has testified.           You should treat this

3    testimony just as you would the testimony of any other witness.

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1                                   INSTRUCTION NO. 5

2                  Proof beyond a reasonable doubt is proof that leaves

3    you firmly convinced the defendant is guilty.                  It is not required

4    that the government prove guilt beyond all possible doubt.

5                  A reasonable doubt is a doubt based upon reason and

6    common sense and is not based purely on speculation.                          It may

7    arise   from    a   careful    and   impartial      consideration      of    all   the

8    evidence, or from lack of evidence.

9                  If after a careful and impartial consideration of all

10   the evidence, you are not convinced beyond a reasonable doubt

11   that    the   defendant   is    guilty,       it   is   your   duty   to    find   the

12   defendant not guilty.          On the other hand, if after a careful and

13   impartial consideration of all the evidence, you are convinced

14   beyond a reasonable doubt that the defendant is guilty, it is

15   your duty to find the defendant guilty.

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1                               INSTRUCTION NO. 6

2              The evidence you are to consider in deciding what the

3    facts are consists of:

4                 •   the sworn testimony of any witness;

5                 •   the exhibits received in evidence; and

6                 •   any facts to which the parties have agreed.

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1                                     INSTRUCTION NO. 7

2                In       reaching   your   verdict      you   may    consider    only   the

3    testimony   and       exhibits     received    in    evidence.       The     following

4    things are not evidence and you may not consider them in deciding

5    what the facts are:

6                     •    Questions, statements, objections, and arguments

7                          by the lawyers are not evidence.              The lawyers are

8                          not   witnesses.        Although     you    must   consider     a

9                          lawyer’s questions to understand the answers of a

10                         witness, the lawyer’s questions are not evidence.

11                         Similarly, what the lawyers have said in their

12                         opening    statements,     closing        arguments,    and    at

13                         other times is intended to help you interpret the

14                         evidence, but it is not evidence.             If the facts as

15                         you remember them differ from the way the lawyers

16                         state them, your memory of them controls.

17                    •    Any testimony that I have excluded, stricken, or

18                         instructed you to disregard is not evidence.                   In

19                         addition, some evidence was received only for a

20                         limited purpose; when I have instructed you to
21                         consider certain evidence in a limited way, you

22                         must do so.

23                    •    Anything you may have seen or heard when the court

24                         was not in session is not evidence.                  You are to

25                         decide the case solely on the evidence received at

26                         the trial.
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1                                     INSTRUCTION NO. 8

2                Evidence       may    be     direct     or    circumstantial.           Direct

3    evidence    is    direct    proof       of   a   fact,     such   as    testimony    by   a

4    witness about what that witness personally saw or heard or did.

5    Circumstantial      evidence       is    indirect        evidence,     that   is,   it    is

6    proof of one or more facts from which you can find another fact.

7                You    are     to    consider        both    direct   and    circumstantial

8    evidence.    Either can be used to prove any fact.                       The law makes

9    no distinction between the weight to be given to either direct or

10   circumstantial evidence. It is for you to decide how much weight

11   to give to any evidence.

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1                                  INSTRUCTION NO. 9

2                In deciding the facts in this case, you may have to

3    decide which testimony to believe and which testimony not to

4    believe.     You may believe everything a witness says, or part of

5    it, or none of it.

6                In considering the testimony of any witness, you may

7    take into account:

8                  •   the witness’s opportunity and ability to see or

9                      hear or know the things testified to;

10                 •   the witness’s memory;

11                 •   the witness’s manner while testifying;

12                 •   the witness’s interest in the outcome of the case,

13                     if any;

14                 •   the witness’s bias or prejudice, if any;

15                 •   whether other evidence contradicted the witness’s

16                     testimony;

17                 •   the reasonableness of the witness’s testimony in

18                     light of all the evidence; and

19                 •   any other factors that bear on believability.

20               Sometimes    a   witness   may      say   something     that    is    not
21   consistent    with   something      else   he    or   she   said.      Sometimes

22   different    witnesses       will   give   different        versions       of    what

23   happened.     People often forget things or make mistakes in what

24   they remember.       Also, two people may see the same event but

25   remember it differently.        You may consider these differences, but

26   do not decide that testimony is untrue just because it differs
27   from other testimony.

28               However, if you decide that a witness has deliberately
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1    testified untruthfully about something important, you may choose

2    not to believe anything that witness said.          On the other hand, if

3    you think the witness testified untruthfully about some things

4    but told the truth about others, you may accept the part you

5    think is true and ignore the rest.

6              The   weight   of   the   evidence   as   to   a   fact   does   not

7    necessarily depend on the number of witnesses who testify.                 What

8    is important is how believable the witnesses were, and how much

9    weight you think their testimony deserves.

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1                               INSTRUCTION NO. 10

2              You are here only to determine whether the defendant is

3    guilty or not guilty of the charges in the second superseding

4    indictment.    The defendant is not on trial for any conduct or

5    offense not charged in the second superseding indictment.

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1                               INSTRUCTION NO. 11

2              A separate crime is charged against the defendant in

3    each count.   You must decide each count separately.         Your verdict

4    on one count should not control your verdict on any other count.

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1                                 INSTRUCTION NO. 12

2              A   person   has    possession   of   something   if   the   person

3    knows of its presence and has physical control of it, or knows of

4    its presence and has the power and intention to control it.

5              More than one person can be in possession of something

6    if each knows of its presence and has the power and intention to

7    control it.

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1                                 INSTRUCTION NO. 13

2                You have heard testimony of a witness who testified in

3    the Russian language.        Witnesses who do not speak English or are

4    more proficient in another language testify through an official

5    interpreter. Although some of you may know the Russian language,

6    it   is   important   that   all   jurors   consider   the   same   evidence.

7    Therefore, you must accept the interpreter’s translation of the

8    witness’s testimony. You must disregard any different meaning.

9                You must not make any assumptions about a witness or a

10   party based solely on the fact that an interpreter was used.

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1                               INSTRUCTION NO. 14

2               The   second    superseding     indictment   charges    that   the

3    offenses   alleged    in    Counts   One     through    Twenty-Eight      were

4    committed “on or about” certain dates.

5               Although it is necessary for the government to prove

6    beyond a reasonable doubt that the offenses were committed on

7    dates reasonably near the dates alleged in Counts One through

8    Twenty-Eight, it is not necessary for the government to prove

9    that the offenses were committed precisely on the dates charged.

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1                                 INSTRUCTION NO. 15

2                 You   have   heard    testimony     that   the   defendant    made    a

3    statement.     It is for you to decide whether the defendant made

4    the statement, and if so, how much weight to give to it.                          In

5    making   those     decisions,     you   should   consider     all   the   evidence

6    about the statement, including the circumstances under which the

7    defendant may have made it.

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1                               INSTRUCTION NO. 16

2              You have heard evidence that the defendant committed

3    other acts not charged here.      You may consider this evidence only

4    for its bearing, if any, on the question of the defendant’s

5    intent,   motive,    opportunity,     preparation,     plan,       knowledge,

6    identity, absence of mistake, absence of accident, and for no

7    other purpose.    You may not consider this evidence as evidence of

8    guilt of the crime for which the defendant is now on trial.

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1                               INSTRUCTION NO. 17

2               You   have   heard    evidence    that   the    defendant   has

3    previously been convicted of a crime.            You may consider that

4    evidence only as it may affect the defendant’s believability as a

5    witness.   You may not consider a prior conviction as evidence of

6    guilt of the crime for which the defendant is now on trial.

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1                               INSTRUCTION NO. 18

2              You   have   heard   evidence   that   [name   of   witness],   a

3    witness, [specify basis for impeachment].         You may consider this

4    evidence in deciding whether or not to believe this witness and

5    how much weight to give to the testimony of this witness.

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1                                     INSTRUCTION NO. 19

2                  You   have    heard    testimony       from    [name   of   witness],     a

3    witness who [received immunity.                    That testimony was given in

4    exchange for a promise by the government that [the witness will

5    not be prosecuted] [the testimony will not be used in any case

6    against     the     witness]];        [received       [benefits]       [compensation]

7    [favored treatment] from the government in connection with this

8    case]; [[admitted being] [was alleged to be] an accomplice to the

9    crime     charged.         An   accomplice      is    one    who     voluntarily      and

10   intentionally joins with another person in committing a crime];

11   [pleaded guilty to a crime arising out of the same events for

12   which   the    defendant        is   on   trial.      This    guilty      plea   is   not

13   evidence against the defendant, and you may consider it only in

14   determining this witness’s believability].

15                 For    [this]      [these]     reason[s],        in    evaluating       the

16   testimony of [name of witness], you should consider the extent to

17   which or whether [his] [her] testimony may have been influenced

18   by [this] [any of these] factor[s].                     In addition, you should

19   examine the testimony of [name of witness] with greater caution

20   than that of other witnesses.
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1                               INSTRUCTION NO. 20

2              You   have   heard   testimony   from   an   informant   who   was

3    involved in the government’s investigation in this case.                 Law

4    enforcement officials may engage in stealth and deception, such

5    as the use of informants, to investigate criminal activities.

6    Informants may use false names and appearances and assume the

7    roles of members in criminal organizations.

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1                                 INSTRUCTION NO. 21

2                  You have heard testimony from [name] who testified to

3    opinions and the reasons for [his] [her] opinions.           This opinion

4    testimony is allowed because of the education or experience of

5    this witness.

6                  Such opinion testimony should be judged like any other

7    testimony. You may accept it or reject it, and give it as much

8    weight   as    you   think   it   deserves,   considering   the    witness’s

9    education and experience, the reasons given for the opinion, and

10   all the other evidence in the case.

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1                                 INSTRUCTION NO. 22

2                You have heard testimony from [name] who testified to

3    both facts and opinions and the reasons for [his] [her] opinions.

4                Fact testimony is based on what the witness saw, heard

5    or   did.     Opinion   testimony      is     based   on   the   education   or

6    experience of the witness.

7                As to the testimony about facts, it is your job to

8    decide which testimony to believe and which testimony not to

9    believe.     You may believe everything a witness says, or part of

10   it, or none of it.           Take into account the factors discussed

11   earlier in these instructions that were provided to assist you in

12   weighing the credibility of witnesses.

13               As to the testimony about the witness’s opinions, this

14   opinion     testimony   is   allowed        because   of   the   education   or

15   experience of this witness.         Opinion testimony should be judged

16   like any other testimony.       You may accept all of it, part of it,

17   or none of it.    You should give it as much weight as you think it

18   deserves, considering the witness's education and experience, the

19   reasons given for the opinion, and all the other evidence in the

20   case.
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1                               INSTRUCTION NO. 23

2              During the trial, certain charts and summaries were

3    shown to you in order to help explain the evidence in the case.

4    These charts and summaries were not admitted in evidence and will

5    not go into the jury room with you.            They are not themselves

6    evidence or proof of any facts.       If they do not correctly reflect

7    the facts or figures shown by the evidence in the case, you

8    should disregard these charts and summaries and determine the

9    facts from the underlying evidence.

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1                               INSTRUCTION NO. 24

2                Certain   charts   and   summaries   have   been    admitted   in

3    evidence.      Charts   and    summaries   are   only   as     good   as   the

4    underlying supporting material.       You should, therefore, give them

5    only such weight as you think the underlying material deserves.

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1                               INSTRUCTION NO. 25

2              An act is done knowingly if the defendant is aware of

3    the act and does not act through ignorance, mistake, or accident.

4    The government is not required to prove that the defendant knew

5    that his acts or omissions were unlawful.              You may consider

6    evidence of the defendant’s words, acts, or omissions, along with

7    all the other evidence, in deciding whether the defendant acted

8    knowingly.

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1                               INSTRUCTION NO. 26

2              An intent to defraud is an intent to deceive or cheat.

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1                                  INSTRUCTION NO. 27

2                The defendant is charged in Counts One through Twenty-

3    Four of the second superseding indictment with wire fraud in

4    violation of Section 1343 of Title 18 of the United States Code.

5    In order for the defendant to be found guilty of that charge, the

6    government must prove each of the following elements beyond a

7    reasonable doubt:

8                First, the defendant knowingly participated in a scheme

9    or plan to defraud, or a scheme or plan for obtaining money or

10   property     by    means      of     false     or   fraudulent          pretenses,

11   representations, or promises;

12               Second, the statements made or facts omitted as part of

13   the scheme were material; that is, they had a natural tendency to

14   influence, or were capable of influencing, a person to part with

15   money or property;

16               Third, the defendant acted with the intent to defraud,

17   that is, the intent to deceive or cheat; and

18               Fourth, the defendant used, or caused to be used, an

19   interstate wire communication to carry out or attempt to carry

20   out an essential part of the scheme.
21               In determining whether a scheme to defraud exists, you

22   may consider not only the defendant’s words and statements, but

23   also the circumstances in which they are used as a whole.

24               A wiring is caused when one knows that a wire will be

25   used   in   the    ordinary      course   of   business     or   when    one   can

26   reasonably foresee such use.
27               It need not have been reasonably foreseeable to the

28   defendant   that    the   wire     communication    would   be   interstate     in
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     Case 2:14-cr-00083-DJC Document 320 Filed 02/14/19 Page 68 of 89


1    nature.   Rather, it must have been reasonably foreseeable to the

2    defendant that some wire communication would occur in furtherance

3    of the scheme, and an interstate wire communication must have

4    actually occurred in furtherance of the scheme.

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1                                     INSTRUCTION NO. 28

2                 The    defendant     is   charged      in   Counts    Twenty-Five      and

3    Twenty-Six of the second superseding indictment with mail fraud

4    in violation of Section 1341 of Title 18 of the United States

5    Code.       In order for the defendant to be found guilty of that

6    charge, the government must prove each of the following elements

7    beyond a reasonable doubt:

8                 First, the defendant knowingly participated in a scheme

9    or plan to defraud, or a scheme or plan for obtaining money or

10   property      by         means   of    false        or   fraudulent       pretenses,

11   representations, or promises;

12                Second, the statements made or facts omitted as part of

13   the scheme were material; that is, they had a natural tendency to

14   influence, or were capable of influencing, a person to part with

15   money or property;

16                Third, the defendant acted with the intent to defraud;

17   that is, the intent to deceive or cheat; and

18                Fourth, the defendant used, or caused to be used, the

19   mails to carry out or attempt to carry out an essential part of

20   the scheme.
21                In determining whether a scheme to defraud exists, you

22   may consider not only the defendant’s words and statements, but

23   also the circumstances in which they are used as a whole.

24                A mailing is caused when one knows that the mails will

25   be   used    in    the    ordinary    course   of    business     or   when   one   can

26   reasonably foresee such use.               It does not matter whether the
27   material mailed was itself false or deceptive so long as the mail

28   was used as a part of the scheme, nor does it matter whether the
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     Case 2:14-cr-00083-DJC Document 320 Filed 02/14/19 Page 70 of 89


1    scheme or plan was successful or that any money or property was

2    obtained.

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1                                   INSTRUCTION NO. 29

2                  If you decide that the defendant was a member of a

3    scheme   to    defraud   and    that   the   defendant   had   the   intent   to

4    defraud, the defendant may be responsible for other co-schemers’

5    actions during the course of and in furtherance of the scheme,

6    even if the defendant did not know what they said or did.

7                  For the defendant to be guilty of an offense committed

8    by a co-schemer in furtherance of the scheme, the offense must be

9    one that the defendant could reasonably foresee as a necessary

10   and natural consequence of the scheme to defraud.

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1                                INSTRUCTION NO. 30

2              The defendant is charged in Count Twenty-Seven of the

3    second superseding indictment with aggravated identity theft in

4    violation of Section 1028A of Title 18 of the United States Code.

5    In order for the defendant to be found guilty of that charge, the

6    government must prove each of the following elements beyond a

7    reasonable doubt:

8              First, the defendant knowingly transferred, possessed,

9    or used without legal authority a means of identification of

10   another person, Lindsay Dearman;

11             Second,     the    defendant    knew    that    the      means   of

12   identification belonged to a real person; and

13             Third, the defendant did so during and in relation to

14   wire fraud.

15             The Government need not establish that the means of

16   identification of another person was stolen.

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1                               INSTRUCTION NO. 31

2                The defendant is charged in Count Twenty-Eight of the

3    second superseding indictment with failure to appear in violation

4    of Section 3146(a)(1) of Title 18 of the United States Code.       In

5    order for the defendant to be found guilty of that charge, the

6    government must prove each of the following elements beyond a

7    reasonable doubt:

8                First, the defendant was released from custody under

9    the Bail Reform Act;

10               Second, the defendant was required to appear in court

11   or before a judicial officer on February 7, 2017;

12               Third, the defendant knew of this required appearance;

13   and

14               Fourth, the defendant intentionally failed to appear as

15   required.

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1                                    INSTRUCTION NO. 32

2                 When you begin your deliberations, elect one member of

3    the   jury    as     your      foreperson    who   will     preside    over     the

4    deliberations and speak for you here in court.

5                 You will then discuss the case with your fellow jurors

6    to reach agreement if you can do so.                     Your verdict, whether

7    guilty or not guilty, must be unanimous.

8                 Each of you must decide the case for yourself, but you

9    should do so only after you have considered all the evidence,

10   discussed it fully with the other jurors, and listened to the

11   views of your fellow jurors.

12                Do    not    be   afraid   to   change      your   opinion   if    the

13   discussion persuades you that you should.                 But do not come to a

14   decision simply because other jurors think it is right.

15                It is important that you attempt to reach a unanimous

16   verdict but, of course, only if each of you can do so after

17   having made your own conscientious decision.                    Do not change an

18   honest belief about the weight and effect of the evidence simply

19   to reach a verdict.

20                Perform these duties fairly and impartially.                 Do not
21   allow personal likes or dislikes, sympathy, prejudice, fear, or

22   public   opinion     to     influence   you.       You    should   also   not    be

23   influenced by any person’s race, color, religion, or national

24   ancestry.

25                It is your duty as jurors to consult with one another

26   and to deliberate with one another with a view towards reaching
27   an agreement if you can do so.               During your deliberations, you

28   should not hesitate to reexamine your own views and change your
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1    opinion if you become persuaded that it is wrong.

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1                                 INSTRUCTION NO. 33

2               Because you must base your verdict only on the evidence

3    received in the case and on these instructions, I remind you that

4    you must not be exposed to any other information about the case

5    or to the issues it involves.            Except for discussing the case

6    with your fellow jurors during your deliberations:

7               Do not communicate with anyone in any way and do not

8    let anyone else communicate with you in any way about the merits

9    of the case or anything to do with it.                 This includes discussing

10   the case in person, in writing, by phone or electronic means, via

11   email, text messaging, or any Internet chat room, blog, website

12   or other feature.       This applies to communicating with your family

13   members,   your    employer,   the    media       or    press,   and     the   people

14   involved in the trial.       If you are asked or approached in any way

15   about your jury service or anything about this case, you must

16   respond that you have been ordered not to discuss the matter and

17   to report the contact to the court.

18              Do not read, watch, or listen to any news or media

19   accounts or commentary about the case or anything to do with it;

20   do   not   do    any    research,    such    as        consulting    dictionaries,
21   searching the Internet or using other reference materials; and do

22   not make any investigation or in any other way try to learn about

23   the case on your own.

24              The    law    requires    these    restrictions          to   ensure   the

25   parties have a fair trial based on the same evidence that each

26   party has had an opportunity to address.                   A juror who violates
27   these restrictions jeopardizes the fairness of these proceedings,

28   and a mistrial could result that would require the entire trial
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     Case 2:14-cr-00083-DJC Document 320 Filed 02/14/19 Page 77 of 89


1    process to start over.      If any juror is exposed to any outside

2    information, please notify the court immediately.

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1                                INSTRUCTION NO. 34

2                  Some of you have taken notes during the trial.              Whether

3    or not you took notes, you should rely on your own memory of what

4    was said. Notes are only to assist your memory.                You should not

5    be   overly    influenced   by   your    notes   or   those   of   your   fellow

6    jurors.

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1                               INSTRUCTION NO. 35

2              The punishment provided by law for this crime is for

3    the court to decide.     You may not consider punishment in deciding

4    whether the government has proved its case against the defendant

5    beyond a reasonable doubt.

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1                                INSTRUCTION NO. 36

2              A verdict form has been prepared for you.                After you

3    have reached unanimous agreement on a verdict, your presiding

4    juror   should   complete    the   verdict    form   according      to   your

5    deliberations, sign and date it, and advise the Court Security

6    Officer that you are ready to return to the courtroom.

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1                               INSTRUCTION NO. 37

2               If it becomes necessary during your deliberations to

3    communicate   with   me,   you   may    send   a    note    through    the   Court

4    Security Officer, signed by any one or more of you.                 No member of

5    the jury should ever attempt to communicate with me except by a

6    signed writing, and I will respond to the jury concerning the

7    case only in writing or here in open court.                 If you send out a

8    question, I will consult with the lawyers before answering it,

9    which may take some time.           You may continue your deliberations

10   while waiting for the answer to any question.                     You are not to

11   tell   anyone—including    me—how      the   jury   stands,       numerically   or

12   otherwise,    on   any   question    submitted      to     you,    including    the

13   question of the guilt of the defendant, until after you have

14   reached a unanimous verdict or have been discharged.

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                              PROPOSED VERDICT FORM
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4                         UNITED STATES DISTRICT COURT

5                       EASTERN DISTRICT OF CALIFORNIA

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7    UNITED STATES OF AMERICA,            No. 2:14-cr-00083-GEB
8                 Plaintiff,
9        v.                               VERDICT FORM
10   RUSLAN KIRILYUK,
11                Defendant.
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14             We, the jury, unanimously find the defendant, Ruslan

15   Kirilyuk, as follows:

16

17   AS TO COUNT 1 OF THE SECOND SUPERSEDING INDICTMENT:

18   GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
19                                United States Code Section 1343.
20   __________   __________

21

22   AS TO COUNT 2 OF THE SECOND SUPERSEDING INDICTMENT:
23   GUILTY       NOT GUILTY
24                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
25   __________   __________
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1    AS TO COUNT 3 OF THE SECOND SUPERSEDING INDICTMENT:

2    GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
3                                 United States Code Section 1343.
4    __________   __________

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6    AS TO COUNT 4 OF THE SECOND SUPERSEDING INDICTMENT:
7    GUILTY       NOT GUILTY
8                                 Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
9    __________   __________
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     AS TO COUNT 5 OF THE SECOND SUPERSEDING INDICTMENT:
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     GUILTY       NOT GUILTY
13                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
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     AS TO COUNT 6 OF THE SECOND SUPERSEDING INDICTMENT:
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     GUILTY       NOT GUILTY
18                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
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22   AS TO COUNT 7 OF THE SECOND SUPERSEDING INDICTMENT:

23   GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
24                                United States Code Section 1343.

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1    AS TO COUNT 8 OF THE SECOND SUPERSEDING INDICTMENT:

2    GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
3                                 United States Code Section 1343.
4    __________   __________

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6    AS TO COUNT 9 OF THE SECOND SUPERSEDING INDICTMENT:
7    GUILTY       NOT GUILTY
8                                 Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
9    __________   __________
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     AS TO COUNT 10 OF THE SECOND SUPERSEDING INDICTMENT:
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     GUILTY       NOT GUILTY
13                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
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16
     AS TO COUNT 11 OF THE SECOND SUPERSEDING INDICTMENT:
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     GUILTY       NOT GUILTY
18                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
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22   AS TO COUNT 12 OF THE SECOND SUPERSEDING INDICTMENT:

23   GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
24                                United States Code Section 1343.

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1    AS TO COUNT 13 OF THE SECOND SUPERSEDING INDICTMENT:

2    GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
3                                 United States Code Section 1343.
4    __________   __________

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6    AS TO COUNT 14 OF THE SECOND SUPERSEDING INDICTMENT:
7    GUILTY       NOT GUILTY
8                                 Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
9    __________   __________
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     AS TO COUNT 15 OF THE SECOND SUPERSEDING INDICTMENT:
12
     GUILTY       NOT GUILTY
13                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
14
     __________   __________
15

16
     AS TO COUNT 16 OF THE SECOND SUPERSEDING INDICTMENT:
17
     GUILTY       NOT GUILTY
18                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
19
     __________   __________
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21

22   AS TO COUNT 17 OF THE SECOND SUPERSEDING INDICTMENT:

23   GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
24                                United States Code Section 1343.

25   __________   __________

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1    AS TO COUNT 18 OF THE SECOND SUPERSEDING INDICTMENT:

2    GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
3                                 United States Code Section 1343.
4    __________   __________

5

6    AS TO COUNT 19 OF THE SECOND SUPERSEDING INDICTMENT:
7    GUILTY       NOT GUILTY
8                                 Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
9    __________   __________
10

11
     AS TO COUNT 20 OF THE SECOND SUPERSEDING INDICTMENT:
12
     GUILTY       NOT GUILTY
13                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
14
     __________   __________
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16
     AS TO COUNT 21 OF THE SECOND SUPERSEDING INDICTMENT:
17
     GUILTY       NOT GUILTY
18                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
19
     __________   __________
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21

22   AS TO COUNT 22 OF THE SECOND SUPERSEDING INDICTMENT:

23   GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
24                                United States Code Section 1343.

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     Case 2:14-cr-00083-DJC Document 320 Filed 02/14/19 Page 88 of 89


1    AS TO COUNT 23 OF THE SECOND SUPERSEDING INDICTMENT:

2    GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
3                                 United States Code Section 1343.
4    __________   __________

5

6    AS TO COUNT 24 OF THE SECOND SUPERSEDING INDICTMENT:
7    GUILTY       NOT GUILTY
8                                 Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
9    __________   __________
10

11
     AS TO COUNT 25 OF THE SECOND SUPERSEDING INDICTMENT:
12
     GUILTY       NOT GUILTY
13                                Mail fraud, in violation of Title 18,
                                  United States Code Section 1341.
14
     __________   __________
15

16
     AS TO COUNT 26 OF THE SECOND SUPERSEDING INDICTMENT:
17
     GUILTY       NOT GUILTY
18                                Mail fraud, in violation of Title 18,
                                  United States Code Section 1341.
19
     __________   __________
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21

22   AS TO COUNT 27 OF THE SECOND SUPERSEDING INDICTMENT:

23   GUILTY       NOT GUILTY
                                  Aggravated    identity    theft,  in
24                                violation of Title 18, United States
                                  Code Section 1028A(a)(1).
25   __________   __________

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1    AS TO COUNT 28 OF THE SECOND SUPERSEDING INDICTMENT:

2    GUILTY       NOT GUILTY
                                   Failure to appear, in violation of
3                                  Title 18, United States Code Section
                                   3146(a)(1).
4    __________   __________

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10   DATED                                   FOREPERSON
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